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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 UNITED STATES OF AMERICA,                  )
                                            )
                Plaintiff,                  )
                                            )   Case No. 11-cr-784-4
        v.                                  )
                                            )   Judge John W. Darrah
 JUAN AGUIRRE,                              )
                                            )
                Defendant.                  )

                                            ORDER

        Defendant Juan Aguirre filed a Motion for Reduction of Sentence, pursuant to 18 U.S.C.
§ 3582(c), based on an amendment to the Sentencing Guidelines, which lowered the base offense
levels applicable to narcotics offenses. For the reasons stated below, Defendant’s Motion [152] is
denied.
                                           STATEMENT

        On April 30, 2014, the Sentencing Commission promulgated Amendment 782, which
revised the Drug Quantity Table and chemical quality tables across drug and chemical types. On
July 18, 2014, the Sentencing Commission voted to make Amendment 782 retroactively
applicable to previously sentenced prisoners. Amendment 782 became effective on
November 1, 2014. Thus, under 18 U.S.C. § 3582(c)(2), previously sentenced prisoners may
move to modify their sentences on the basis of the amendment. 18 U.S.C. § 3582(c)(2) allows for
a defendant to move to reduce a term of imprisonment when that term is based on a sentencing
range that has been subsequently lowered by the Sentencing Commission.

        On October 16, 2012, Defendant pled guilty to Count One of the indictment, charging him
with a conspiracy to possess with intent to distribute five kilograms or more of cocaine, and to
Count Twelve, charging him with money laundering. At Defendant’s sentencing hearing on
February 5, 2013, Defendant’s total offense level was calculated to be 31, with a guidelines range
of 108 to 135 months. After considering the sentencing factors, the Court sentenced Defendant to
a term of 72 months’ imprisonment on Count One and a concurrent term of 60 months’
imprisonment on Count Twelve, a sentence below the amended guideline range.

        The Sentencing Commission has directed that “the court shall not reduce the defendant’s
term of imprisonment under 18 U.S.C. § 3582(c)(2) and this policy statement to a term that is less
than the minimum of the amended guideline range determined under subdivision (1).” U.S.S.G.
1B1.10(b)(2)(A). Therefore, Amendment 782 does not authorize a reduction of Defendant’s
sentence.
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        Defendant’s Motion for Reduction of Sentence is denied.



Date:          March 4, 2015
                                                          JOHN W. DARRAH
                                                          United States District Court Judge
